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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


  ADVANCED GYNECOLOGY AND
  LAPAROSCOPY OF NORTH
                                            Civ. A. No. 2:19-cv-22234-ES-MAH
  JERSEY, P.C., et. al.

                    Plaintiffs,            [Page limit extended per July 12, 2021
                                           Order, Dkt. 77.]
  v.

  CIGNA HEALTH AND LIFE
  INSURANCE COMPANY, et. al.

                    Defendants.




                  MEMORANDUM OF LAW IN SUPPORT
                   OF CIGNA’S MOTION TO DISMISS
                  THE SECOND AMENDED COMPLAINT
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                                INTRODUCTION 1
       Plaintiffs are out-of-network healthcare providers who contend that Cigna

 underpaid their claims for services provided to members of Cigna-serviced health

 benefit plans (the “Plans”). (SAC ¶ 1.) While Plaintiffs try to dress up their

 allegations as ERISA, RICO, and various state-law causes of action, the core theory

 of their supposed underpayments is not complicated. They argue that their claims

 were not paid pursuant to Plan terms because Cigna did not pay those claims at

 Plaintiffs’ full billed charges, and instead applied certain “repricing” methods in

 reimbursing claims—including negotiating discounts for individual claims through

 Repricing Companies such as Zelis and MultiPlan. (SAC ¶ 16.)

       But while that may be Plaintiffs’ theory, that is apparently not what guided

 which individual benefit claims Plaintiffs put at issue (listed in Exhibit A to the

 SAC). Instead, Plaintiffs seem originally to have dumped any claims with a balance

 onto their exhibit. And while Plaintiffs have since dropped thousands of claims from

 this suit, it is clear from even the handful of claims described in the SAC that many

 of those that remain still have nothing to do with repricing techniques. For example,

 one of these claims was processed pursuant to the Maximum Reimbursable Charge


 1
   For the purposes of this brief, “Cigna” means Cigna Health and Life Insurance
 Company and Connecticut General Life Insurance Company collectively.
 References to “SAC” are to the Second Amended Complaint, Dkt. 73. Unless
 otherwise noted, all emphasis has been added, and all internal quotation marks,
 citations, and ellipses have been omitted.
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  (“MRC”) methodologies outlined in the Plans, which are used to price out-of-

  network claims. (SAC, Ex. J at 12.) Others were paid at rates lower than Plaintiffs’

  billed charges for reasons that have nothing to do with pricing at all, including

  because the member did not have out-of-network benefits. Hoping to keep these

  unrelated claims in the case, Plaintiffs’ SAC now offers a handful of conclusory

  allegations that Cigna miscalculated payment for these claims too. But these

  allegations are insufficient to survive a motion to dismiss, and these non-repricing

  claims should be dismissed from the case.

        Regardless, Plaintiffs admit, for all of their claims, “the Cigna Plans control

  the amount” at which those claims must be paid. (Id. ¶ 6.) And, as with their two

  prior complaints, Plaintiffs have not identified a single provision in the Plans that

  would obligate Cigna to pay Plaintiffs’ billed charges.

        In fact, the terms of the Plans unequivocally refute this theory. Instead, the

  Plans have methodologies to price out-of-network claims, which typically lead to

  those claims being paid at much less than billed charges—precisely so that plan

  sponsors can control the costs of out-of-network services. (Id.) That is no surprise:

  it would make no sense for a plan sponsor to adopt a cost-limiting methodology like

  the MRC, only to end up having to pay an out-of-network provider’s claims at a rate

  determined solely by the provider. “Plaintiff[s] may be disappointed with the out-

  of-network reimbursement terms of [their] patients’ benefit plan[s], which resulted


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  in a payment that was a small percentage of [Plaintiffs’] charges,” but they “accepted

  the terms of the Plan[s] when [they] agreed with [their] patients to the assignment of

  [their] benefits.” See Shah v. Horizon Blue Cross Blue Shield of N.J., 2018 WL

  1509087, at *4-5 (D.N.J. Mar. 27, 2018).

        Ultimately, without any plausible allegations that Cigna paid less than the

  Plans require, all of Plaintiffs’ legal theories fall apart. They cannot possibly state

  any ERISA violation without showing that Cigna breached plan terms. Plaintiffs’

  state-law claims are premised on the same mistaken assumption—that Cigna did

  something wrong by not paying their claims at full billed charges—and they fail for

  that same reason. Finally, their RICO schemes make no sense. Plaintiffs conjure a

  supposed conspiracy where Cigna misrepresents to Plaintiffs that they have a

  contracted rate with the Repricing Companies—even though Plaintiffs admit that

  they know they are “out-of-network providers who have not contracted with Cigna.”

  (SAC ¶ 16.) But even setting that incoherence aside, Plaintiffs’ RICO claims fail

  since they have not shown an entitlement to be paid at 100% of their billed charges,

  and thus Plaintiffs cannot show any RICO injury.

        For these reasons, and those described below, all claims should be dismissed.

                              STATEMENT OF FACTS
        Cigna provides healthcare insurance and administers claims for both

  employer-sponsored benefit Plans and individual health benefit Plans. (SAC ¶ 4.)


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  Certain Plans allow members to obtain healthcare services from so-called “out-of-

  network” providers. (Id. ¶ 6.) In-network providers contract with Cigna to provide

  services to Cigna members at “discounted negotiated rates”; out-of-network

  providers, like Plaintiffs, do not. (Id. ¶ 60.) As a result, “the Cigna Plans control

  the amount Cigna is required to reimburse the out-of-network provider.” (Id. ¶ 6.)

        To receive the benefit of discounted rates, Plans typically encourage members

  to see in-network providers rather than out-of-network providers. For example,

  some Plans do not cover out-of-network visits at all; in such cases, if a Cigna

  member goes to an out-of-network provider, Cigna will deny the claim as non-

  covered under the plan and the plan will not be financially responsible. That, in fact,

  is what happened with at least one patient whom Plaintiffs specifically reference. 2

  (Dkt. 39, FAC ¶¶ 305-311; see also Wohlforth Cert., Ex. 1, Explanation of Payment

  (“EOP”), at 3 (Cigna denying an out-of-network claim because “your plan won’t pay

  for this service unless you go to a health care professional in Cigna’s network.”).)

        Because plan sponsors do not have negotiated rates with out-of-network

  providers, and therefore cannot control how much these providers bill, plan sponsors

  may also set a pricing formula that limits how much the Plans will pay for out-of-

  network services. In the Plans for which Cigna administers claims, for elective



  2
    While no longer called out in the text of the SAC, as it was in the FAC, this claim
  is listed in Exhibit A to the SAC and is still being contested by Plaintiffs.

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  services, this is typically done through a “Maximum Reimbursable Charge” or

  “MRC.” (SAC ¶ 66.) Some of the Plans have a different methodology, called a

  “Reasonable & Customary Charge” or “R&C.” (Id.)

        Plaintiffs quote examples of the MRC or R&C definitions in the SAC. (SAC

  ¶¶ 68-70.) And as even Plaintiffs would acknowledge, the MRC definitions in the

  Plans typically limit reimbursement for out-of-network claims to the lesser of: (i)

  the provider’s normal (not billed) charge, or (ii) a plan selected methodology based

  on a percentile of charges or a methodology similar to Medicare. And under the

  R&C methodology, as alleged, the reimbursement amount is calculated based on

  what Cigna considers “appropriate for the services performed,” which may—in

  addition to other factors—include consideration of the provider’s usual charge or the

  charge not above the prevailing fee (as, again, determined by Cigna). But these

  MRC and R&C methodologies certainly do not obligate Cigna to pay out-of-network

  claims at 100% of billed charges, like Plaintiffs argue.

        The same is true for emergency claims under the Plans.             As Plaintiffs

  recognize, federal regulations obligate Plans to pay emergency claims under the so-

  called “Greatest of Three” rule. (Id. ¶ 86.) But while Plaintiffs contend that for

  “almost all of the emergency or urgent care” claims, “the Cigna Plans require Cigna

  to pay the Plaintiffs up to their total incurred charges” (id. ¶ 91), that “Greatest of

  Three” regulation makes clear that the Plans will do no such thing. Instead, the


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  Plans—consistent with federal law—cover emergency claims either at:

          the negotiated amount agreed to by the Out-of-Network provider and
          Cigna, or[,] if no amount is agreed upon, the greater of the following:
          (i) the median amount negotiated with In-Network Providers for the
          emergency service (excluding In-Network copay or coinsurance);
          (ii) the Maximum Reimbursable Charge; or (iii) the amount payable
          under the Medicare program (not to exceed the provider’s billed
          charges).” 3

          Finally, as the Plans contemplate, Cigna may also use the services of a third-

  party vendor to negotiate with out-of-network providers to reprice claims under

  Cigna’s “cost-containment” programs. (See SAC ¶ 17.) As Cigna advises plan

  sponsors, applying these “may result in higher payments than if the MRC is applied,”

  “whereas application of MRC may result in the patient being balance billed for the

  entire unreimbursed amount, applying these discounts avoids balance billing and

  substantially reduces the patient’s out-of-pocket cost.” (Id. ¶¶ 252, 254.)

          In the SAC, Plaintiffs challenge a specific cost-containment program: Cigna’s

  use of third-party “repricing” vendors. Cigna contracts with certain third parties

  (i.e., as alleged in the SAC, MultiPlan and Zelis) who come up with a proposed

  “repriced” amount for the particular service at issue, which is then sent to the

  provider. Plaintiffs argue that they generally do not have contracts with repricing

  companies and thus do not have a set of contracted rates. (Id. ¶ 258.) Plaintiffs

  acknowledge, however—as Cigna discloses to plan sponsors in contracts called


  3
      Ex. 4 to Wohlforth Cert., BBA Aviation OAP Medical Benefits Plan, at 13.
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  ASO agreements—that the third-party companies will negotiate rates directly with

  the out-of-network provider. (Id. ¶ 251(b) (“Cigna ‘may apply discounts available

  under . . . third-party contracts or through negotiation of the billed [incurred]

  charges’”) (quoting ASO agreement).) So when Cigna receives an out-of-network

  claim, Cigna or its agents may make an offer to the provider; the provider ultimately

  decides whether to accept that offer.

                                      ARGUMENT

  I.    The ERISA Claims Should Be Dismissed.
        Plaintiffs bring three counts under ERISA: (1) an ERISA § 502(a)(1)(B)

  benefits claim; (2) a claim for breach of fiduciary ERISA duties; and (3) a claim for

  denial of full and fair review under ERISA § 503. All three should be dismissed.

        First, the ERISA benefits claim should be dismissed because while Plaintiffs

  argue that they are entitled to be paid at 100% of billed charges on all of their claims,

  the Plans show that Cigna does not pay out-of-network claims at that rate. Second,

  Plaintiffs premise their ERISA fiduciary duty claim on the same unsupported and

  mistaken assumption as their benefits claim, so it is not only wrong on the merits but

  also duplicative. Finally, Plaintiffs’ ERISA § 503 claim fails because ERISA § 503

  does not provide for a private cause of action.

        A.     The ERISA § 502(a)(1)(B) Claim (Count 1) Fails Because Plaintiffs
               Have Not Identified Any Plan Provision that Requires Their
               Claims to Be Paid at 100% of Billed Charges.

        The linchpin of Plaintiffs’ ERISA § 502(a)(1)(B) benefits claim is that the
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  terms of the Plans supposedly require their claims to be reimbursed at 100% of

  Plaintiffs’ billed charges—or what Plaintiffs call their “incurred” charges (SAC

  ¶ 12)—and that Cigna violated ERISA by failing to pay their claims in accordance

  with those terms. (See, e.g., id. ¶ 164 (asserting that Plaintiffs are “entitled to up to

  the total incurred charges for the elective and emergency claims at issue,” less

  patient responsibility amounts).) This claim should be dismissed.

        That a claim for benefits under ERISA rises and falls with plan terms is

  beyond dispute. ERISA’s plain language is unequivocal in this respect, requiring a

  plaintiff to demonstrate that he is entitled to “benefits due to him under the terms of

  his plan.” 29 U.S.C. § 1132(a)(1)(B). The Supreme Court has also repeatedly

  explained as much, noting that “ERISA’s principal function” is “to protect

  contractually defined benefits”—that is, benefits set forth in the plan—and ERISA’s

  “statutory scheme, we have often noted, ‘is built around reliance on the face of

  written plan documents.’” US Airways, Inc. v. McCutchen, 569 U.S. 88, 100-01

  (2013). “The plan, in short, is at the center of ERISA.” Id. at 101.

        Because plan terms are “at the center of ERISA,” id., an ineluctable

  requirement of stating a benefits claim is to first “demonstrate that the benefits are

  actually ‘due’” under the plan—“that is, [the ERISA plaintiff] must have a right to

  benefits that are legally enforceable against the plan.” Hooven v. Exxon Mobil Corp.,

  465 F.3d 566, 574 (3d Cir. 2006); Hein v. F.D.I.C., 88 F.3d 210, 215 (3d Cir. 1996)


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  (“Only the words of the Plan itself can create an entitlement to benefits.”). “Nothing

  in the [plans], ERISA, or the applicable case law interpreting ERISA confers a right

  upon [an out-of-network provider] . . . to demand anything other than the out-of-

  network allowance which [the plan sponsor] opted to underwrite as a benefit.” K.S.

  v. Thales USA, Inc., 2019 WL 1895064, at *5 (D.N.J. Apr. 29, 2019).

        Thus, it is now black-letter law in this District that a plaintiff cannot state an

  ERISA benefits claim without identifying the plan provision that was breached. See

  Univ. Spine Ctr. v. Cigna Health & Life Ins. Co., 2018 WL 4144684, at *3 (D.N.J.

  Aug. 29, 2018) (“join[ing] recent holdings of other judges of this district” in

  “emphasiz[ing] that an ERISA claim requires plaintiff to allege and prove an

  entitlement to ‘benefits due to him under the terms of his plan’”) (emphasis in

  original). But Plaintiffs have failed to identify a single plan provision that actually

  obligates Cigna to pay their out-of-network claims at 100% of billed charges. Nor

  could they, because as explained below, the Plans in fact conclusively establish that

  Plaintiffs are not entitled to such reimbursement.

        Not surprisingly, given this black-letter law, Plaintiffs themselves concede

  that “the Cigna Plans control the amount Cigna is required to reimburse the out-of-

  network provider . . . .” (SAC ¶ 6.) And Plaintiffs also acknowledge that the

  prescribed out-of-network reimbursement methodologies vary between the Plans.

  (SAC ¶¶ 66-70.) Despite that, Plaintiffs’ basic theory of the case—that they are


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  entitled to be paid at 100% of billed charges across all of the Plans—is unsupported

  by a specific allegations of even one plan provision that actually entitles them to be

  reimbursed at that level.

        That is a fatal problem for Plaintiffs’ ERISA § 502(a)(1)(B) count for all of

  their claims.   As courts in this District have repeatedly recognized, without

  identifying plan language that was actually breached, an ERISA § 502(a)(1)(B)

  claim cannot withstand a Rule 12(b)(6) motion. See Atl. Plastic & Hand Surgery,

  PA v. Anthem Blue Cross Life & Health Ins. Co., 2018 WL 5630030, at *7-8 (D.N.J.

  Oct. 31, 2018) (dismissing ERISA claim where plaintiff alleged that Anthem

  “improperly refused ‘to pay the usual and customary charge’” of the provider but

  “fail[ed] to identify any specific Plan provision entitling payment of benefit based

  on the ‘usual and customary charge’”; citing “several courts in this circuit [that] have

  dismissed denial of benefits claims for failure to allege the specific provision

  violated in an ERISA-governed plan.”). 4 The Plans in fact establish without doubt

  that Cigna does not reimburse claims from out-of-network providers like Plaintiffs

  at 100% of their billed charges.



  4
    See also Somerset Ortho. Assocs., P.A. v. Horizon Healthcare Servs., Inc., 2020
  WL 1983693, at *9 (D.N.J. Apr. 27, 2020) (dismissing where plaintiffs failed to
  “identify a plan term that indicates that Plaintiffs were in fact underpaid”); K.S, 2019
  WL 1895064, at *6 (collecting D.N.J. cases that “granted motions to dismiss in
  instances where a plaintiff has failed to tie his or her allegations of ERISA violations
  to specific provisions of an applicable plan”).
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        Moreover, even if Plaintiffs intended to seek some amount less than billed

  charges, their claim still fails because they have not alleged what that amount may

  be, let alone how such amounts are required by the Plans. Such allegations are

  necessary for an ERISA § 502(a)(1)(B) claim to survive dismissal. See Robinson v.

  Anthem Blue Cross Life & Health Ins. Co., 2018 WL 6258881, at *4 (D.N.J. Nov.

  30, 2018) (no “viable claim under § 502(a)(1)(B)” where the complaint “points to

  relevant provisions in the Plan but fails to allege what amount Plaintiff should be

  entitled to under those provisions.”).

        Elective Out-of-Network Claims. Plaintiffs allege that for elective out-of-

  network claims, “the Cigna Plans typically state that Cigna’s repayment obligation

  is limited to the ‘Maximum Reimbursable Charge’ (‘MRC’) for Covered Expenses.”

  (SAC ¶ 66.) Plaintiffs then cite variations of MRC and R&C definitions from the

  Plans (id. ¶¶ 67-70).      Plaintiffs contend that paying claims under these

  methodologies should result in Cigna paying out-of-network claims at full billed

  charges (id. ¶ 74):

        Cigna’s Plans typically calculate MRC or R&C for the Cigna Claims
        based on the lesser of either (i) the provider’s normal charges, or
        (ii) some alleged alternative methodology (not disclosed in the Plan
        itself) that, upon information and belief, equals if not exceeds Plaintiffs’
        normal charges for the services at issue.

        Otherwise, according to Plaintiffs, there has been a “misapplication of

  [Cigna’s] MRC definition.” (SAC ¶ 156.)


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        There are at least two things wrong with this theory. First, Plaintiffs are wrong

  to equate “normal” charges to their “billed” (or “incurred”) charges. These two

  things are not the same, as courts reviewing Cigna’s plan language have recognized.

  See Franco v. Conn. Gen. Life Ins. Co., 289 F.R.D. 121, 138 (D.N.J. 2013) (rejecting

  damages model based on “billed charge[s]” put forth by out-of-network providers,

  because the providers could not point to a “single [Cigna] plan” that “entitles a plan

  beneficiary to the provider’s billed charge on an ONET [out-of-network] claim”;

  instead, Cigna’s plans priced out-of-network claims “based on ‘the normal charge’

  of ‘the provider’”).

        Second, Plaintiffs concede that the MRC methodologies in the Plans typically

  calculate reimbursement at the lesser of the (i) normal charge, or (ii) some other

  alternative methodology, but then they argue that under either methodology, the

  claim should still be paid at “Plaintiffs’ normal charges for the services at issue.”

  (SAC ¶ 74.) This argument makes no sense.

        To start, Plaintiffs’ own recitation of MRC and R&C definitions refutes their

  allegation that these methodologies inevitably translate to paying claims at full billed

  charges. For some definitions of MRC in the Plans (called MRC-1), the second

  prong of the “lesser of” definition uses a database of comparable charges, i.e., “a

  policyholder-selected percentile of charges made by providers of such service or

  supply in the geographic area where it is received as compiled in a database selected


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  by [the plan sponsor].” (Id. ¶ 69.) For other definitions of MRC (called MRC-2),

  the second prong uses a methodology similar to Medicare, i.e., “a policyholder-

  selected percentage of a schedule developed by Cigna that is based upon a

  methodology similar to a methodology utilized by Medicare to determine the

  allowable fee for the same or similar service within the geographic market.” (Id.

  ¶ 68.) And finally, under R&C, the reimbursement amount is calculated based on

  what Cigna considers “appropriate for the services performed,” which may—in

  addition to other factors—include consideration of the provider’s usual charge or the

  charge not above the prevailing fee (as, again, determined by Cigna). (Id. ¶ 70.)

         The MRC and R&C methodologies thus refute any notion that applying them

  should invariably result in the out-of-network claim being paid at full billed charges.

  A key function of these provisions is to allow the plan sponsor to select a

  methodology that limits reimbursement of out-of-network claims: (i) for MRC-1,

  as the lesser of the normal charge or a plan-selected percentile of comparable

  provider charges; (ii) for MRC-2, as the lesser of the normal charge or a percentage

  of a methodology similar to Medicare; and (iii) for R&C, an amount that Cigna

  considers “appropriate” for the service.         Plaintiffs do not grapple with these

  definitions, and they offer no basis for their assumption that no matter which of these

  different prongs of these different definitions is applied, the end result is that all of

  Plaintiffs’ claims will still be paid at full billed charges.


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        The Plans for patients referenced in the Complaint—of which the Court may

  take judicial notice 5—further confirm that Plaintiffs’ claims will not be paid at 100%

  of their billed charges. Take, for instance, the plan that governs Patient 1’s claim

  (SAC ¶¶ 276), a plan funded by plan sponsor Sunrise Senior Living Plan. For out-

  of-network claims, that plan defines “the percentage of covered expenses the plan

  pays” as “50% of the Maximum Reimbursable Charge,” with the remainder being

  the member’s responsibility. 6 The plan then defines the MRC as “the lesser of” (1)

  the provider’s normal charge for a similar service or supply,” (2) a percentage of a

  methodology similar to Medicare, or (3) if the Medicare methodology is not used, a

  percentile of charges for a comparable service in the same geographic area. 7 As

  these plan terms show, Plaintiffs have no basis to allege that this plan obligates Cigna

  to pay out-of-network claims at 100% of billed charges.

        The Plans for other patients referenced in the Complaint contain similar

  limitations for out-of-network reimbursement, and they also make clear that Cigna

  and its plan sponsors do not pay such claims at 100% of billed charges. For example:

  Patient 2, 3, 4 & 5’s Plans, (SAC ¶¶ 294-306), defines the MRC the same way as

  Patient 1’s plan (i.e., the lowest of the provider’s normal charge, a percentage of a


  5
    See, e.g., Yost v. Anthem Life Ins. Co., 2016 WL 4151214, at *3 n.1 (M.D. Pa. Aug.
  2, 2016) (holding that the Court may take judicial notice of the plan documents).
  6
    Ex. 3 to Wohlforth Cert., at 12-13.
  7
    Id. at 15.

                                            14
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  methodology similar to Medicare and a percentile of charges). 8 Patient 6’s plan

  defines the R&C as the “lesser of” the provider’s “usual charge” and “the R&C

  charge percentage made for the service or supply in the geographic location where

  it is furnished.” 9 So while the exact definitions may vary across the Plans, the core

  concept is the same: none of the Plans requires Cigna to pay out-of-network claims

  at billed charges, contrary to Plaintiffs’ theory.

        These Plans make another thing clear as well: members, not Cigna or Cigna

  plan sponsors, are financially responsible for any amount beyond the out-of-network

  benefit required to be paid under the plan (e.g., the MRC)—which again means that

  Cigna is not obligated to pay such claims at 100% of billed charges. For instance,

  all but the CISCO plan caution members that “[t]he provider may bill you for the

  difference between the provider’s normal charge and the Maximum Reimbursable

  Charge, in addition to applicable deductibles, copayments[,] and coinsurance.” 10

  The CISCO plan similarly states that “[a]ny amounts in excess of the R&C rate are

  your responsibility.” If Plaintiffs were correct that Cigna must pay their claims at




  8
    See Ex. 2 to Wohlforth Cert., at 13 (Patient 2); Ex. 4 to Wohlforth Cert., Signature
  Aviation LLC OAP Medical Benefits SPD, at 14 (Patient 5); see also Ex. 5 to
  Wohlforth Cert., Everest Reinsurance Company SPD, at 67 (Patient 3); Ex. 6 to
  Wohlforth Cert., NCCI Holdings, Inc. OAP Medical Benefits SPD, at 69 (Patient 4).
  9
     Ex. 7 to Wohlforth Cert., CISCO Systems Inc. Medical plan, at 94.
  10
     Ex. 3 to Wohlforth Cert., at 13; Ex. 2 to Wohlforth Cert., at 13; Ex. 4 to Wohlforth
  Cert., at 14; Ex. 5 to Wohlforth Cert., at 12; Ex. 6 to Wohlforth Cert., at 14.
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  billed charges, these warnings would make no sense, since the member would never

  be responsible for the difference between the MRC or R&C and billed charges.

        Non-Repricing Out-of-Network Claims. The only factual allegations that

  Plaintiffs offer in the SAC involve Cigna’s use of repricing vendors.           But a

  substantial portion of the thousands of health benefit claims that Plaintiffs have put

  at issue were not even paid using repricing. For example, many claims—including

  Patient 3’s (SAC, Ex. J, at 12)—were adjudicated using the MRC, not repricing. For

  these claims, Plaintiffs offer only conclusory allegations that they were improperly

  paid. (SAC ¶ 156 (alleging a “misapplication” of its MRC without any further

  explanation of how the MRC was misapplied).) This is insufficient to withstand a

  motion to dismiss. See Robinson, 2018 WL 6258881, at *4 (no “viable claim under

  § 502(a)(1)(B)” where the complaint “points to relevant provisions in the Plan but

  fails to allege what amount Plaintiff should be entitled to under those provisions.”).

        Plaintiffs also include claims that have nothing to with repricing or even the

  MRC, such as claims where the member did not have out-of-network benefits. (Dkt.

  39, FAC ¶¶ 305-311; see also Wohlforth Cert., Ex. 1, Provider Explanation of

  Payment.) Plaintiffs also now offer conclusory allegations of “global agreements”

  between some Plaintiffs and MultiPlan and Zelis (SAC ¶ 16, n.2), but Plaintiffs do

  not allege that Cigna was a party to these agreements, nor how Cigna was obligated

  to use the discounts in those agreements. Again, Plaintiffs’ conclusory allegations


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  for these claims do not pass muster under Rule 12.                      See Robinson,

  2018 WL 6258881, at *4. At minimum, the Court should issue an order dismissing

  any non-repricing claims from the case.

           Emergency Out-of-Network Claims. Plaintiffs fare no better with their

  theory that the Plans supposedly require Cigna and Cigna plan sponsors “to pay the

  Plaintiffs up to their total incurred charges” for “almost all of the emergency or

  urgent care” services they provide to Cigna’s members. (SAC ¶ 91.) The Plan terms

  refute this theory as well, because they typically calculate the allowable amount for

  out-of-network emergency claims not at 100% of billed charges, but by reference to

  the so-called “Greatest of Three” methodology mandated by federal law. 45 C.F.R.

  § 147.138(b)(3)(i) (setting forth the required covered “benefits with respect to an

  emergency service in an amount at least equal to the greatest of the three amounts

  specified” in the regulation). For instance, the NCCI Holdings, Inc. plan defines the

  allowable amount for out-of-network emergency claims as either “the negotiated

  amount” between Cigna and the out-of-network provider, or if no such amount

  exists, “the greater of the following”: “(i) the median amount negotiated with In-

  Network Providers for the emergency service (excluding In-Network copay or

  coinsurance); (ii) the Maximum Reimbursable Charge; or (iii) the amount payable

  under the Medicare program (not to exceed the provider’s billed charges.)” 11


  11
       Ex. 6 to Wohlforth Cert., at 13; Ex. 4 to Wohlforth Cert., at 13 (same).
                                              17
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        So here, too, the Plans unequivocally do not require Cigna to pay out-of-

  network emergency claims at 100% of billed charges. Just as with Plaintiffs’ claims

  for elective services, their ERISA § 502(a)(1)(B) count based on emergency services

  fails on the pleadings because Plaintiffs have not shown that they are entitled to be

  paid at 100% of billed charges under the Plans. Indeed, given the plain language of

  the Plans, Plaintiffs cannot make this showing.

        B.     The ERISA Claim for Breach of Fiduciary Duty (Count 2) Should
               Be Dismissed as Duplicative of the ERISA Benefits Claim.
        In Count 2, Plaintiffs assert the same theory as in Count 1—that Cigna

  supposedly “refus[ed] to make appropriate out-of-network payments” and

  improperly withheld plan assets (SAC ¶ 330)—except they couch it as a breach of

  Cigna’s ERISA fiduciary duty. (Id. ¶¶ 323-336.)

        This Count should be dismissed for two reasons. First, it is premised on the

  same mistaken assumption as the benefits claim—that the Plans required Cigna to

  pay Plaintiff’s claims at full billed charges—which Plaintiffs have not plausibly

  alleged. (Supra at Sec. I.A.) Second, it should be dismissed as duplicative, because

  Plaintiffs seek the same relief under a fiduciary duty theory as their ERISA benefits

  theory. See Bickhart v. Carpenters Health & Welfare Fund of Pa. & Vicinity, 732

  F. App’x 147, 153 (3d Cir. 2018) (instructing courts to be “wary of fiduciary breach

  claims under ERISA that . . . are ‘actually [claims] based on denial of benefits under

  the terms of [a] plan,’” and dismissing fiduciary claim that “allege[d] nearly identical

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  misconduct” and sought “nearly identical relief” as the ERISA benefits claim).

        C.    The ERISA § 503 Claim (Count 3) Should Be Dismissed Because
              ERISA § 503 Does Not Provide a Private Cause of Action.

        In Count 3, Plaintiffs allege that Cigna violated ERISA § 503 by denying them

  a “full and fair review” of their claim denials and by failing to comply with the

  procedural regulations in 29 C.F.R. §§ 2560.503-1 and 2590.715-2719. (SAC

  ¶¶ 337-345.) But as courts in this District have repeatedly recognized, ERISA § 503

  does not provide a private cause of action, and it does not provide for any

  compensatory relief for alleged failure to maintain appropriate claims procedures.

  See, e.g., Piscopo v. Pub. Serv. Elec. & Gas Co., 2015 WL 3938925, at *5 (D.N.J.

  June 25, 2015) (dismissing ERISA § 503 claim with prejudice because “section 503

  of ERISA does not confer a private right of action”), aff’d, 650 F. App’x at 109. 12

  Plaintiffs’ ERISA § 503 claim should be dismissed.

  II.   Plaintiffs’ State-Law Claims Should Be Dismissed.

        In addition to their ERISA claims, Plaintiffs also assert a number of state-law

  theories—breach of contract, good faith and fair dealing, quantum meruit,

  declaratory judgment, and fiduciary duty—for benefit claims covered by non-

  ERISA Plans. All of these should be dismissed for failure to allege an essential


  12
    See also Rahul Shah, M.D. v. Horizon Blue Cross Blue Shield, 2016 WL 4499551,
  at *11 (D.N.J. Aug. 25, 2016) (same, noting “recent decisions in this District . . .
  have also reached the conclusion that neither [ERISA § 503], nor its accompanying
  regulation, 29 C.F.R. § 2560.503-1, gives rise to a private cause of action”).
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  element of the claim, as duplicative, as preempted, or some combination thereof.

        A.     The Breach of Contract Claim (Count 8) Should Be Dismissed for
               Failure to Identify a Plan Provision that Cigna Breached.

        Plaintiffs’ breach of contract claim mirrors their ERISA benefits claim: here,

  too, they allege that the Plans supposedly require out-of-network claims to be paid

  “up to Plaintiffs’ incurred charges”—that is, 100% of billed charges—and that Cigna

  supposedly breached plan terms by failing to pay these claims accordingly. (SAC

  ¶ 395.) But just as with their ERISA benefits claim, this count fails because

  Plaintiffs have not identified a single plan provision that actually obligates Cigna to

  pay claims at 100% of billed charges. To the contrary, as explained in Section I.A,

  the Plans reimburse out-of-network claims at much lower MRC or R&C rates.

  Without identifying any plan terms that Cigna breached, Plaintiffs cannot maintain

  a breach of contract claim. See Grande Vill. LLC v. CIBC Inc., 2015 WL 1004236,

  at *5 (D.N.J. Mar. 6, 2015) (dismissing for failure to “identify the specific contract

  or provision that was allegedly breached”).

        B.     The Claim for Breach of Duty of Good Faith and Fair Dealing
               (Count 9) Should Be Dismissed as Duplicative.

        Count 9 is a yet another repackaging of Plaintiffs’ ERISA benefits and breach

  of contract claims. Plaintiffs allege that the Plans are “valid and enforceable

  insurance contracts,” and they cite a laundry list of alleged breaches—all of which

  boil down to Plaintiffs’ dissatisfaction with Cigna’s reimbursement of their out-of-


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  network claims. (SAC ¶¶ 399, 406.) Because Plaintiffs’ allegations underlying this

  claim are duplicative of their contract claim, Count 9 should be dismissed. See, e.g.,

  MZL Capital Holdings, Inc. v. TD Bank, N.A., 734 F. App’x 101, 106 (3d Cir. 2018)

  (noting that “no claim for a breach of the covenant of good faith and fair dealing

  may lie . . . unless the underlying conduct is distinct from that alleged in a

  corresponding breach of contract claim,” and affirming dismissal of “duplicative”

  good faith and fair dealing claim); Lewis v. Gov’t Emps. Ins. Co., 2019 WL 1198910,

  at *3 (D.N.J. Mar. 14, 2019) (joining “other rulings from this District” and

  dismissing as duplicative a claim for breach of good faith and fair dealing “rooted in

  the same allegations” as the contract claim).

        C.     The Declaratory Judgment Claim (Count 10) Should Be Dismissed.

        Plaintiffs’ declaratory judgment claim also seeks the same relief as Plaintiffs

  seek in their other counts: a declaration that Cigna breached the terms of the Plans,

  failed to provide full and fair review under ERISA, and violated ERISA fiduciary

  duties. (SAC, Prayer for Relief §§ A-F, R.) 13 Because Plaintiffs have not plausibly

  stated any claim that could support such declaratory relief (whether under ERISA or

  non-ERISA plans), Plaintiffs have not stated a claim for declaratory relief either.

        And as to the ERISA Plans, the declaratory judgment request should be



  13
    Plaintiffs also seek a declaration that Cigna did not pay claims in accordance with
  certain New Jersey regulations. Cigna addresses this argument separately below.
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  dismissed for the separate reason that ERISA provides the exclusive way to enforce

  plan terms or to enjoin ERISA violations.           See 29 U.S.C. § 1132(a)(1)(B)

  (authorizing a civil action “by a participant or beneficiary” to “recover benefits,”

  “enforce his rights,” or “clarify his rights to future benefits under the terms of the

  plan”); id. § 1132(a)(3)(A) (authorizing a civil action “by a participant, beneficiary,

  or fiduciary” to “enjoin” any ERISA or plan violations).

        D.     The Non-ERISA Fiduciary Duty Claim (Count 11) Should Be
               Dismissed as Duplicative.
        Plaintiffs’ Count 11 repeats the same allegations from Count 2—that Cigna

  violated its fiduciary duties—this time as applied to non-ERISA Plans. (SAC ¶ 422.)

  But whether the Plans at issue are ERISA or non-ERISA, Plaintiffs cannot maintain

  a free-standing claim for breach of fiduciary duty untethered to any supposed

  violation of plan terms, because the scope of Cigna’s duties ultimately flows from

  those terms. See Serio v. Wachovia Sec., LLC, 2007 WL 2462626, at *16 (D.N.J.

  Aug. 27, 2007) (dismissing fiduciary duty claim against plan administrator, because

  those duties “are wholly based on the duties that Wachovia owed as Plan

  Administrator” and “because the MasterShare Plan governs the parties’ rights”). It

  would make no sense to allow Plaintiffs to rewrite the terms of the Plans under the

  guise of bringing a fiduciary duty claim, so this claim should be dismissed.




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        E.    The Quantum Meruit Claim (Count 12) Is Preempted by ERISA
              and Is Also Duplicative of the Breach of Contract Claim.

        Like all other counts, Plaintiffs’ quantum meruit claim alleges that Cigna

  underpaid their claims. (SAC ¶¶ 424-431). Unlike their other state-law claims,

  however, Plaintiffs do not limit their quantum meruit claim to non-ERISA Plans,

  though they do limit it to claims where “Plaintiffs have not been validly assigned

  benefits under the Cigna Plans.” (Id. ¶ 425.)

        This quantum meruit theory is a non-starter. It is black-letter law that state-

  law claims challenging reimbursement of benefit claims under ERISA Plans are

  preempted and must be dismissed. See Sleep Tight Diagnostic Ctr., LLC v. Aetna,

  Inc., 399 F. Supp. 3d 241, 250-51 (D.N.J. 2019) (dismissing out-of-network

  provider’s state-law claims as preempted; noting that “disputes of this nature fall

  ‘squarely within ERISA’s ambit’” and that “courts within this district have

  consistently dismissed [state-law] claims . . . when they arise from an ERISA-

  governed plan on the basis of preemption”) (collecting cases). 14 Nor can Plaintiffs

  escape preemption by limiting this count to claims for which they do not have

  assignments. Plaintiffs concede that “the Cigna Plans control the amount Cigna is

  required to reimburse” their claims (SAC ¶ 6), and thus this count depends on the


  14
    See also, Plastic Surgery Ctr., P.A. v. Aetna Life Ins. Co., 967 F.3d 218, 241-42
  (3d Cir. 2020) (finding unjust enrichment claim preempted “because the benefit
  involves a plan-based duty,” and “there simply is no cause of action [for unjust
  enrichment] if there is no plan.”).
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  existence of and interpretation of ERISA Plans, so it is preempted. Menkes v.

  Prudential Ins. Co. of Am., 762 F.3d 285, 294 (3d Cir. 2014) (state-law claims

  preempted because “they are premised on the existence of the plan and require

  interpreting the plan’s terms”).

        Plaintiffs’ quantum meruit claim based on non-ERISA Plans fares no better.

  Plaintiffs do not identify any obligation for Cigna to pay claims outside of plan

  terms—nor could they, as they admit the Plan “control[s]” their reimbursement.

  (SAC ¶ 6.) So what Plaintiffs are really asserting, then, is that Cigna underpaid their

  claims in violation of the terms of non-ERISA Plans. This claim can only be brought

  as a breach of contract, since a “quasi-contract claim cannot exist when there is an

  enforceable agreement between parties” (i.e., the plan). MK Strategies, LLC v. Ann

  Taylor Stores Corp., 567 F. Supp. 2d 729, 733-34 (D.N.J. 2008) (emphasis in

  original). 15 Plaintiffs cannot paper over their failure to plausibly allege any breached

  plan terms by falling back to a quasi-contract claim like quantum meruit. 16




  15
     See also Ribble Co. v. Burkert Fluid Control Sys., 2016 WL 6886869, at *5 (D.N.J.
  Nov. 22, 2016) (dismissing quasi-contract unjust enrichment claim because it was
  premised on the same conduct as the breach of contract claim).
  16
     Plaintiffs also seek a temporary and permanent injunction (Count 13) to enjoin
  Cigna from allegedly underpaying their claims. (SAC ¶¶ 432-436.) But more than
  a year and a half after filing their initial complaint, Plaintiffs have not moved for an
  injunction, so there is no live request for the Court to consider.
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  III.   The Claim for Violation of New Jersey Coverage and Payment
         Regulations (Count 14) Should Be Dismissed.

         In Count 14, Plaintiffs allege that Cigna violated New Jersey’s prompt pay

  requirements under N.J.S.A. 17:48E-10.1(d)(1), as well as New Jersey’s emergency

  care coverage requirements under N.J.S.A. 26:2S-6.1(a) and N.J.A.C. 11:24-5.3(b).

  (SAC ¶¶ 437-447). But these regulations do not provide a private cause of action,

  so this Count should be dismissed as well. See Advanced Orthopedics & Sports

  Med. Inst. v. Empire Blue Cross Blue Shield, 2018 WL 2758221, at *6 n.14 (D.N.J.

  June 7, 2018) (dismissing and rejecting plaintiff’s argument “that a private right of

  action ‘is inferred by’” these regulations); Cohen v. Horizon Blue Cross Blue Shield

  of N.J., 2017 WL 685101, at *6 n.6 (D.N.J. Feb. 21, 2017) (“Plaintiff has not proven

  that the regulation permits a private cause of action”).

         But even if these regulations provided a private cause of action (which they

  do not), this Count also fails for another fundamental reason. To the extent Plaintiffs

  bring this Count with respect to ERISA fully-insured Plans (SAC ¶ 438): “courts

  have repeatedly held that ERISA preempts these types of regulations because they

  act immediately and exclusively upon an ERISA plan and the existence of an ERISA

  plan is essential to the law’s operation.” Empire BCBS, 2018 WL 2758221, at *6;

  see also Cohen v. Horizon Blue Cross Blue Shield of N.J., 2017 WL 1206005, at *3-

  4 (D.N.J. Mar. 31, 2017) (finding these New Jersey regulations preempted because

  they “would affect the ‘types of benefits provided by an ERISA plan’ and

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  ‘effectively force an ERISA plan to adopt a certain scheme of substantive

  coverage’”). Put simply, any state regulation that purports to tell an administrator

  how it must process or reimburse benefit claims would create an intolerable conflict

  with ERISA’s carefully-balanced nationwide scheme. ERISA forbids this. See

  Gobeille v. Liberty Mut. Ins. Co., 577 U.S. 312, 320 (2016) (ERISA preempts any

  state law that “‘governs . . . a central matter of plan administration’ or ‘interferes

  with nationally uniform plan administration.’”).

  IV.     The NJ Consumer Fraud Act Claim (Count 15) Should Be Dismissed.

          In Count 15, Plaintiffs allege that Cigna violated the New Jersey Consumer

  Fraud Act N.J.S.A. 56:8-1 et seq. (“NJCFA”) by allegedly misrepresenting to New

  Jersey consumers that Cigna’s Plans cover out-of-network claims and concealing its

  practice of underpaying such claims. (SAC ¶¶ 448-458).

          Plaintiffs cannot bring this claim because they are not “consumers” under the

  NJCFA. The NJCFA does not apply to transactions between two corporate actors

  exchanging goods or services. See Papergraphics Int’l, Inc. v. Correa, 389 N.J.

  Super. 8, 12-14 (N.J. App. Div. 2006) (holding that “the CFA does not cover every

  sale in the marketplace,” and finding that although plaintiff-corporation “purchased

  a common consumer product” (printer ink cartridges), the wholesale purchaser was

  not a “consumer” under the NJCFA). 17 Plaintiffs have not alleged that they are


  17
       Lab. Corp. of Am. d/b/a Labcorp. v. Fusion Diagnostics Labs., LLC, 2020 WL
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  “consumers” under the statute. Nor could they, given that they purport to bring a

  claim on behalf of New Jersey residents to whom they allege Cigna marketed Plans.

  (See SAC ¶ 453.) Because Plaintiffs themselves are not “consumers” who were

  allegedly injured, they cannot maintain their NJCFA claim.

        Plaintiffs’ NJCFA claim should also be dismissed because it is a fraud-based

  claim subject to Rule 9(b), Priano-Keyser v. Apple, Inc., 2019 WL 7288941, at *4

  (D.N.J. Dec. 30, 2019), but Plaintiffs have not met Rule 9(b) requirements. To do

  so, Plaintiffs must identify the specific misrepresentation or omission, the “date,

  place, or time” of the fraud, and who made what misrepresentation to whom. Lum

  v. Bank of Am., 361 F.3d 217, 224 (3d Cir. 2004). And for claims of fraudulent

  omission, Plaintiffs must demonstrate that the defendant “‘(1) knowingly concealed

  (2) a material fact (3) with the intention that plaintiff rely upon the concealment.’”

  Coba v. Ford Motor Co., 932 F.3d 114, 124 (3d Cir. 2019).

        Plaintiffs do not come close to alleging any of this. Their basic theory is that

  Cigna somehow misled consumers by promising that it would reimburse out-of-

  network claims at 100% of billed charges and then failed to do so, but as explained



  476882, at *5 (N.J. App. Div. Jan. 30, 2020) (finding that plaintiff was a commercial
  firm and did not qualify as a “consumer” under the NJCFA); Prof’l Cleaning &
  Innovative Bldg. Servs., Inc. v. Kennedy Funding Inc., 408 F. App’x 566, 570 (3d
  Cir. 2010) (“the CFA does not blanket the entire marketplace . . . the statute’s
  ‘applicability is limited to consumer transactions which are defined both by the
  status of the parties and the nature of the transaction itself.’”) (emphasis in original).
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  above, this theory is foreclosed by the Plans—which unambiguously state that out-

  of-network claims are not reimbursed at 100% of billed charges, and are instead paid

  at lower MRC or R&C rates. 18 Plaintiffs also contend that Cigna “marketed its out-

  of-network coverage to the public, including to New Jersey consumers” (SAC

  ¶ 453), but they do not cite any specific statement by Cigna or its representatives

  that in any way misrepresents Plan terms. See Stockroom, Inc. v. Dydacomp Dev.

  Corp., 941 F. Supp. 2d 537, 546 (D.N.J. 2013) (dismissing fraud claim because it

  “does not satisfy the first and most basic element of common law fraud—a statement

  of material fact that is false”). In short, there is no fraud here. Plaintiffs simply

  misapprehend how Cigna prices their out-of-network claims under the Plans.

  V.    Plaintiffs’ RICO Claims (Counts 4-7) Should Be Dismissed.

        Plaintiffs allege the following RICO claims:        (1) 18 U.S.C. § 1962(c)

  (Count 4), based on Cigna’s supposed predicate acts of mail and wire fraud and

  embezzlement; (2) 18 U.S.C. § 1962(a) (Count 6), based on Cigna supposedly

  investing the proceeds of a racketeering enterprise; and (3) 18 U.S.C. § 1962(d)

  (Counts 5 and 7), conspiracy to violate Section 1962(c) and Section 1962(a).

        All these claims should be dismissed. The Third Circuit has cautioned courts

  that “RICO claims premised on mail or wire fraud must be particularly scrutinized



  18
    The NJCFA is also preempted under ERISA for this reason. D’Alessandro v.
  Hartford Life & Accident Ins. Co., 2009 WL 122852, at *3-*4 (D.N.J. May 1, 2009).

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  because of the relative ease with which a plaintiff may mold a RICO pattern from

  allegations that, upon closer scrutiny, do not support it.” Kolar v. Preferred Real

  Estate Invs., Inc., 361 F. App’x 354, 363 (3d Cir. 2010). And while a plaintiff may

  be tempted to take a shot at RICO’s treble damages, “plaintiffs wielding RICO

  almost always miss the mark.” Moss v. BMO Harris Bank, N.A., 258 F. Supp. 3d

  289, 297 (E.D.N.Y. 2017). For the reasons below, this is not the rare RICO case that

  survives dismissal, and the Court should reject Plaintiffs’ attempts to transform their

  garden-variety business dispute over how Cigna must pay their claims into the

  “litigation equivalent of a thermonuclear device.” W. 79th St. Corp. v. Congregation

  Kahl Minchas Chinuch, 2004 WL 2187069, at *5 (S.D.N.Y. Sept. 29, 2004). 19

        A.     Plaintiffs’ Section 1962(c) Claim (Count 4) Fails for Failure to
               Plead Predicate RICO Acts and Causation.
        To state a Section 1962(c) claim, Plaintiffs must allege that Cigna participated

  in the “(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering

  activity.” Kolar, 361 F. App’x at 363. Plaintiffs must also allege they were injured

  “by reason of” Cigna’s alleged violations of Section 1962(c). 18 U.S.C. § 1964(c).

        The Section 1962(c) claim fails for at least two reasons. First, Plaintiffs do

  not allege that Cigna participated in a pattern of racketeering activity, because they



  19
    Plaintiffs’ RICO allegations only relate to the benefit claims adjudicated using the
  Repricing methodologies, and therefore, at a minimum, the RICO claims can
  dismissed for the substantial number of non-Repricing claims.

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  fail to plausibly allege that Cigna committed a pattern of predicate acts of either

  mail/wire fraud or embezzlement. Second, Plaintiffs fail to plausibly allege a RICO

  injury, because they have not shown that they are entitled to be paid at 100% of their

  billed charges, or that their supposed injury was caused by the alleged predicate acts.

               1.     Plaintiffs Have Failed to Plead Mail and Wire Fraud.

        The elements of mail or wire fraud are: “(1) a scheme to defraud; (2) use of

  the mail [or wires] to further that scheme; and (3) fraudulent intent.” United States

  v. Pharis, 298 F.3d 228, 234 (3d Cir. 2002). These predicate acts “are subject to the

  heightened pleading standard” of Rule 9(b). Jaye v. Oak Knoll Vill. Condo. Owners

  Assoc., Inc., 751 F. App’x 293, 297-98 (3d Cir. 2018). This Rule 9(b) “requirement

  is particularly important in civil RICO pleadings in which the predicate racketeering

  acts are critical to the sufficiency of the RICO claim.” Balthazar v. Atl. City Med.

  Ctr., 279 F. Supp. 2d 574, 591 (D.N.J. 2003).

        As a threshold issue, Plaintiffs merely offer general allegations with a handful

  of examples that fail to show how “each” or indeed any of the 23 plaintiffs was

  defrauded. In re Riddell Concussion Reduction Litig., 77 F. Supp.3d 422, 424

  (D.N.J. 2015). This defect alone is enough to fail Rule 9(b). Id. Regardless, none of

  Plaintiffs’ four supposed RICO schemes meets Rule 9(b)’s requirements.

        Scheme 1 (“Fictitious Contracting Scheme”): Plaintiffs allege that this

  scheme consists of “Cigna’s use of the mails or wires to misrepresent to Plaintiffs,


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  Cigna Subscribers, and the Cigna Plans” that there was a “[i] a contract between an

  individual Plaintiff and Cigna as an in-network provider, or [ii] with a third-party

  leasing contractor or negotiator couched as a repricing company.” (SAC ¶ 16.)

  Plaintiffs allege that both of those representations are false because “Plaintiffs are

  out-of-network providers who have not contracted with Cigna.” (Id.)

        To start with, this supposed scheme makes no sense, as there is no conceivable

  link between Cigna’s alleged misrepresentation (that Plaintiffs have an in-network

  or third-party contracted rate) and Plaintiffs’ alleged injury (being paid at less than

  100% of billed charges).        Even crediting Plaintiffs’ allegations that Cigna

  misrepresents their in-network status (which, as detailed below, they have not

  actually plausibly pled), Plaintiffs fail to explain how these supposed

  misrepresentations by Cigna—to Plaintiffs themselves, let alone plan sponsors or

  Cigna members—could have misled Plaintiffs into believing that they have in-

  network contracts, or could have otherwise somehow tricked them into accepting a

  lower rate. As Plaintiffs themselves allege, they know they are “out-of-network

  providers who have not contracted with Cigna,” and they need not agree “to accept

  discounted rates” and can instead “set their own fees” based on whatever rates they

  want. (Id. ¶¶ 16, 61.) Given this, Plaintiffs offer no reason why Cigna’s supposed

  misrepresentations would have led Plaintiffs to accept lower rates.

        But even if this Fictitious Contracting Scheme made sense, Plaintiffs’ general


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  allegations that Cigna supposedly makes false representations about their in-network

  or third-party contract status (id. ¶ 16) are unsupported. Plaintiffs contend that Cigna

  makes these misrepresentations in “post-transfer coding combinations, most

  commonly [as] ‘contractual obligation,’ ‘patient responsibility’ and ‘-45 CORE

  combinations,’” (id. ¶ 245; see also id. ¶ 247 (alleging “fraudulent use of the CORE

  coding combinations”)), but Plaintiffs do not allege any specific examples of such

  misrepresentations, much less with the particularity that Rule 9(b) demands.

        For instance, Plaintiffs do not offer a single example of an EOB or other

  document sent by mail or wire in which Cigna actually represented to anyone—

  Plaintiffs, plan sponsors, or members—that Plaintiffs have an in-network contract

  or a third-party Repricing Company contract. The only example that Plaintiffs offer

  is Cigna’s use of a so-called “CO/PR-45 code combination” in processing their

  claims. (Id. ¶ 170.) But while Plaintiffs contend that this code should be used only

  “where there is a contract that limits the total compensation the provider may

  receive” (id.), as noted above, Plaintiffs know they do not have a contract with Cigna

  and do not explain how this statement could be fraudulent or would have led

  Plaintiffs to accept lower rates. In any event, the ANSI X12 definition of this code

  shows that Plaintiffs’ interpretation is incorrect. Instead, the code is used when the

  provider’s    “charge      exceeds     fee     schedule/maximum        allowable     or

  contracted/legislated fee arrangement” (id. ¶ 169)—meaning, when the provider’s


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  charge exceeds either the contracted in-network rate or the out-of-network

  maximum allowable rate like the MRC or R&C. Plaintiffs have thus failed to satisfy

  Rule 9(b), and they have not alleged that Cigna’s supposed Fictitious Contracting

  Scheme involves any fraudulent representations sent by mail or wire.

        Scheme 2 (“Repricing Reduction Scheme”): Plaintiffs allege that Cigna

  conspires with Repricing Companies to underpay claims through a “cost-

  containment process,” where “the Repricing Company recommends to Cigna that

  Cigna pay a deeply slashed reimbursement rate” and Cigna “adopts that

  recommendation.” (Id. ¶ 17.) They allege that “Cigna’s contracts with the Cigna

  ERISA Plans falsely state that this process is only applied to claims for which the

  Repricing Company has an existing contract with an out-of-network provider.” (Id.)

        This, too, makes no sense. Once again, Plaintiffs do not explain how Cigna’s

  supposed misrepresentation has any conceivable connection to Plaintiffs being

  misled into accepting reimbursement below the Plan amounts—particularly since,

  again, Plaintiffs are wrong in assuming that the Plans actually require their claims to

  be paid at 100% of billed charges.

        And the sole misrepresentation that Plaintiffs do allege—that “Cigna’s

  contracts with the Cigna ERISA Plans” (called ASO agreements) supposedly

  “falsely state that this process [i.e., cost-containment] is only applied to claims for

  which the Repricing Company has an existing contract with an out-of-network


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  provider” (id.)—is demonstrably incorrect. The ASO agreements that Plaintiffs

  themselves quote actually “state that Cigna ‘may apply discounts available

  under . . . third-party contracts or through negotiation of the billed [incurred]

  charges.” (Id. ¶ 251.b (alteration in original).) Far from misleading plan sponsors,

  Cigna correctly advises them that it may apply cost-containment either when the

  out-of-network provider has a third-party repricing company contract, or by

  negotiating with the provider for an agreed amount below their billed charges—the

  very process that Plaintiffs describe in the Complaint. Plaintiffs thus have not

  alleged any fraudulent representations to support their Repricing Reduction Scheme.

        Scheme 3 (“Contradictory EOB Scheme”): Here, Plaintiffs allege that

  Cigna makes “false and inconsistent statements” on EOPs (Explanation of Payment,

  the form that Cigna sends to providers) versus EOBs (Explanation of Benefits, the

  form that Cigna sends to members), by (1) telling the provider on the EOP that

  certain amounts are “not covered under the terms of the pertinent Cigna ERISA plan

  or are subject to certain ‘adjustments,’” but then (2) telling the member on the EOB

  for the same claim that “Plaintiffs are either contracted with Cigna to accept certain

  rates, or have agreed with Cigna or a Repricing Company to accept a ‘discount’;

  both complete fabrications.” (Id. ¶¶ 18-19.)

        This third scheme makes no more sense than the first two. Plaintiffs appear

  to posit that Cigna somehow forces them to accept a lower reimbursement by telling


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  the provider and the member two different things about the same claim: (1) the

  provider, that a portion of the service is not covered; and (2) the member, that the

  provider agreed to accept a discount. The fatal flaw here, though, is that Plaintiffs

  themselves admit that Cigna’s representations to members via EOBs could not

  possibly impact Plaintiffs’ decision to accept a particular negotiated amount on a

  claim, “because the provider receives completely different information on the

  Provider EOB” and thus “has no idea” what the member’s EOB for that claim says.

  (Id. ¶ 267.) So even had Plaintiffs plausibly alleged that Cigna tells members and

  providers two different things about the same claim, it does not follow that this is an

  actionable and material misrepresentation that can support their RICO claim.

          And Plaintiffs have not alleged that Cigna misrepresents anything in any

  event. First, Plaintiffs claim that Cigna states on provider EOPs that certain amounts

  are “not covered” or “are subject to certain ‘adjustments’”—but nothing in the

  Complaint suggests that such statements were false. Claim administrators like Cigna

  may deny certain services or entire claims for a variety of reasons (for instance, if

  the plan does not cover a service, or if the plan does not provide for out-network

  benefits, or if the provider does not follow proper claim pre-authorization or

  submission requirements). Plaintiffs’ own exemplar claims provide ample proof of

  this, in fact. 20 Plaintiffs have not plausibly alleged that in denying these claims, and


  20
       SAC, Ex. H at 5. (denying portion of claim because it did not follow CMS
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  so advising on the EOP, Cigna did anything other than what the Plan terms require.

        Second, Plaintiffs also have not alleged any misrepresentations as to the

  patient EOBs. They contend that Cigna supposedly falsely states that the provider

  was “contracted with Cigna to accept certain rates” or “agreed” to accept a discount.

  (SAC ¶ 19.) But the EOB example that Plaintiffs cite says no such thing; it states

  that “Cigna negotiates discounts with health care professionals and facilities to help

  you save money.” (Id.) That is not a misrepresentation—that is what Cigna does.

        Finally, while Plaintiffs allege that Cigna representatives supposedly

  “admitted to Plaintiffs’ representatives that the use of ‘Discount’ to describe the

  amount adjusted by Cigna on the Patient EOB is a misrepresentation of the ‘amount

  not covered,’” and that “Cigna’s representatives have acknowledged that Cigna

  intentionally misrepresents to out-of-network Cigna Subscribers that they have

  received a ‘discount’” (id. ¶¶ 265-266), these allegations lack the “who, what, when,

  where, and how” specifics required by Rule 9(b). See Leeder v. Feinstein, 2019 WL

  2710794, at *5 (D.N.J. June 28, 2019).

        Scheme 4 (“Forced Negotiations Scheme”): This scheme does not involve

  any alleged false representations at all. Plaintiffs allege that Cigna and the Repricing

  Companies conspired “to force out-of-network providers like Plaintiffs to enter into

  negotiations for payment of valid claims, with the goal of either coercing or wearing


  procedures); Ex. 1 to Wohlforth Cert., at 3 (denying for no out-of-network benefits).
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  down the providers so they accept drastic underpayments,” and that to that end, the

  Repricing Companies send letters “threaten[ing] that the services provided to the

  Cigna Subscriber will not be covered at all, or that they will receive a reimbursement

  of ‘as low as 110%’ of the Medicare rate.” (SAC ¶ 21.)

        Noticeably absent here is any allegation that these supposed threats actually

  communicate anything false (e.g., that the claim is actually covered but that Cigna

  will refuse to treat it as such, or that plan terms for the claim required Cigna to

  reimburse it at something higher than a percentage of Medicare). Indeed, Plaintiffs’

  theory here is that they know the Plans allow a higher reimbursement rate than what

  Cigna or the Repricing Companies offer, and that while some Plaintiffs will “persist

  in their efforts to gain reimbursement of the amount due and owing to them under

  terms of the Cigna Plan Enterprise agreements,” others lack “administrative

  resources or capacity needed to fight all the underpayments.” (Id. ¶ 284.)

        In sum, because Plaintiffs have failed to identify any predicate acts of mail or

  wire fraud, they have not stated a Section 1962(c) claim.

               2.    Plaintiffs Have Failed to Plead Embezzlement.

        Aside from mail and wire fraud, the only other predicate act that Plaintiffs

  allege to support their Section 1962(c) claim is embezzlement. Plaintiffs advance

  two theories here: (i) Cigna supposedly embezzles trust assets by charging allegedly

  improper cost-containment fees (SAC ¶¶ 16-17); and (ii) that Cigna allegedly


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  “embezzl[es] and/or convert[s] the amount characterized as a ‘discount on the

  Patient EOB that is rightfully due and owing to the Plaintiffs under the terms of the

  Cigna ERISA Plans.” (Id. ¶ 25.) Plaintiffs’ allegations are baseless, but even if

  accepted as true at the motion to dismiss stage, neither theory alleges a predicate act.

        First, as addressed below, Plaintiffs cannot bring a RICO claim based on

  Cigna’s supposed embezzlement of plan assets, because any conversion of plan

  assets is not a direct injury to Plaintiffs. Instead, that injury would be to plan

  sponsors, for which Plaintiffs—who did not suffer it—could not recover.

        Second, Plaintiffs have not alleged the elements of embezzlement, which are:

  “(1) the unauthorized (2) taking or appropriation (3) of benefit plan funds (4) with

  specific criminal intent.” Mehling v. N.Y. Life Ins. Co., 163 F. Supp. 2d 502, 508

  (E.D. Pa. 2001); accord In re Aetna UCR Litig., 2015 WL 3970168, at *35 (D.N.J.

  June 30, 2015). Plaintiffs—incorrectly—allege that Cigna draws from the bank

  account “the full incurred charge amount for each CPT code” when the claim comes

  in. (SAC ¶ 183.) Plaintiffs then allege that Cigna “pays only a small portion of this

  amount to Plaintiff providers,” and that after “provider appeals and negotiations with

  the Repricing Companies, Cigna sometimes makes additional payments on claims.”

  (Id. ¶¶ 184-185.) Critically, however, nowhere do Plaintiffs allege that Cigna keeps

  any plan sponsors’ money for itself, or that Cigna has violated the ASO agreements,

  which govern all banking transactions between Cigna and plan sponsors.


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               3.     Plaintiffs Have Not Pled a RICO Injury or Causation.
        To state a RICO claim, Plaintiffs must also allege that they were (1) “injured

  in [their] business or property”; (2) “by reason of” the alleged RICO predicate act.

  18 U.S.C. § 1964(c). Section 1964(c) requires plaintiffs “to show that a RICO

  predicate offense not only was a ‘but for’ cause of [their] injury, but was the

  proximate cause as well.” Hemi Grp., LLC v. City of N.Y., 559 U.S. 1, 9 (2010);

  Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 457 (2006) (same).

        The Supreme Court has emphasized that proximate causation requires a direct

  link between the predicate act and the plaintiff’s injury. See Hemi, 559 U.S. at 11

  (no proximate cause where “the conduct directly causing the harm was distinct from

  the conduct giving rise to the fraud”); Anza, 547 U.S. at 459 (no proximate cause if

  plaintiff’s injuries “could have resulted from factors other than [defendants’] alleged

  acts of fraud”); Anderson v. Ayling, 396 F.3d 265, 269 (3d Cir. 2005) (plaintiff must

  allege he was injured by an act “wrongful under RICO,’” and “not merely by a non-

  racketeering act in furtherance of a broader RICO conspiracy.”).

        First, Plaintiffs have failed to plausibly allege an injury to their business or

  property. As detailed in Section I.B above, they have not plausibly alleged that any

  Plans actually require their claims to be paid at 100% of billed charges; indeed, the

  Plans reimburse these out-of-network claims at much lower MRC and R&C rates.

  Without showing that they were entitled to be paid at 100% of billed charges but


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  received something less, Plaintiffs cannot show that they have suffered a “concrete

  financial loss” or an “actual monetary loss,” which means they have not stated a

  RICO injury. See Maio v. Aetna, Inc., 221 F.3d 472, 483 (3d Cir. 2000).

        Second, Plaintiffs have not directly linked any of the alleged predicate acts—

  either mail and or wire fraud or embezzlement—to their alleged injuries, i.e.,

  underpayments. To establish mail or wire fraud as a predicate act, Plaintiffs must

  show that someone actually relied on the supposed misrepresentation. See Bridge v.

  Phoenix Bond & Indem. Co., 553 U.S. 639, 658 & n.6 (2008) (“of course, a

  misrepresentation can cause harm only if a recipient of the misrepresentation relies

  on it,” so “a RICO plaintiff alleging injury by reason of a pattern of mail fraud must

  establish at least third-party reliance in order to prove causation”); Puro-Tec, LTD

  v. Carotenuto, 2019 WL 2089993, at *5 (E.D. Pa. May 13, 2019) (“Bridge instructs

  this Court that someone must have relied on the fraud.”).

        Plaintiffs cannot meet this requirement. The only supposedly fraudulent

  statements they identify are: (1) Cigna’s representations in ASO contracts about

  circumstances in which Cigna applies cost-containment programs; (2) Cigna’s

  representations that Plaintiffs have an in-network contract or a contract with a third-

  party repricing company; (3) Cigna’s representations on members’ EOBs that

  Plaintiffs agreed to accept discounts or are contracted with Cigna; and (4) Cigna’s

  representations on member EOBs that the denied amounts are discounts. Separate


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  from the fact that none of these statements is actually false (see Sec. V.A.1),

  Plaintiffs have not alleged that the injury they allegedly suffered (their

  reimbursement at less than 100% of billed charges) was in any way caused by these

  statements or anyone else relying on these supposed misrepresentations.

        The most that Plaintiffs can muster on causation are the following allegations:

  (i) “the Cigna Plan Enterprises incorrectly believe Cigna is saving the Plans money”;

  (ii) “the Cigna Subscribers believe they are saving money”; and (iii) “the Plaintiffs

  believe they must negotiate with a Repricing Company for additional payments

  despite their entitlement to be paid under the terms of the Cigna Plans.” (SAC

  ¶ 228.) The third point actually negates any suggestion of causation, since Plaintiffs

  allege they know the Plans allow higher payments, but decide to negotiate anyway.

  And the first two points have nothing to do with Plaintiffs’ alleged injuries. Even if

  Cigna Plan Enterprises rely on Cigna’s (truthful) statements that the cost-

  containment programs may save plan funds, and even if Cigna members rely on

  alleged statements in the EOBs that Plaintiffs have agreed to accept discounts, there

  is simply no conceivable link between that reliance and Plaintiffs’ alleged harm.

  With no link between reliance on the supposed fraud and the alleged injury, there is

  no RICO claim. See Carotenuto, 2019 WL 2089993, at *5 (dismissing where

  “Plaintiff has not pled that anyone relied on these alleged fraudulent acts that would

  create the requisite proximate causation for Plaintiff’s injuries”).


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        Plaintiffs also cannot show that Cigna’s alleged embezzlement of cost-

  containment fees caused their injuries, since those fees would not have been paid to

  Plaintiffs even if Cigna had not applied its cost-containment programs. Moreover,

  even if Plaintiffs had plausibly alleged that Cigna embezzled plan assets, the only

  “direct” victim who could recover damages would be the plan sponsor (whose assets

  were supposedly embezzled), not Plaintiffs. See Hemi Grp., 559 U.S. at 2 (“the

  general tendency of the law, in regard to damages at least, is not to go beyond the

  first step,” and “that ‘general tendency’ applies with full force to proximate cause

  inquiries under RICO.”); Anza, 547 U.S. at 454, 458, 461 (no proximate cause where

  defendant allegedly underpaid New York sales taxes and then used the proceeds to

  lower its prices to unfairly compete with plaintiff; “the direct victim of this conduct

  was the State of New York, not [plaintiff],” because “it was the State that was being

  defrauded and the State that lost tax revenue as a result.”).

        B.      Plaintiffs’ 18 U.S.C. § 1962(a) Claim (Count 6) Fails.

        Section 1962(a) of RICO makes it unlawful to “use or invest” racketeering

  income “in acquisition of any interest in, or the establishment or operation of, any

  enterprise” engaged in interstate commerce. This claim requires an injury that flows

  from the use or investment of racketeering income—a so-called investment-

  injury—rather than an injury that flows from the predicate racketeering acts

  themselves.    See, e.g., Rose v. Bartle, 871 F.2d 331, 357-58 (3d Cir. 1989)


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  (“requiring the allegation of income use or investment injury” to state a Section

  1962(a) claim); Kolar, 361 F. App’x at 360-61 n.6 (the “essence” of a Section

  1962(a) violation “is the investment of racketeering proceeds in an enterprise”; thus,

  a plaintiff “must plead and prove injury flowing from that investment of racketeering

  proceeds in order to state a claim.”); Lightning Lube, Inc. v. Witco Corp., 4 F.3d

  1153, 1190 (3d Cir. 1993) (owner of an enterprise infiltrated by the defendant could

  claim Section 1962(a) injury if injury resulted from defendant’s acquisition or

  control of his enterprise). Plaintiffs’ Section 1962(a) claim fails, as their allegations

  make clear that their supposed Section 1962(a) injury does not flow from Cigna’s

  alleged use of investment of racketeering income. Instead, they allege the same harm

  as under their Section 1962(c) claim. (Compare SAC ¶ 383 (Section 1962(a)

  allegations) with id. ¶ 360 (same allegations for Section 1962(c) claim).)

        Plaintiffs attempt to plead a distinct Section 1962(a) injury by alleging that

  “Cigna is also able to invest and use the funds so diverted to maintain a robust

  network of Repricing Companies and others through which Cigna can continue to

  inflict harm on Plaintiffs.” (SAC ¶ 391.) But “the mere use of racketeering proceeds

  to support a business that continues to engage in the racketeering activities that

  produced those profits does not qualify as an investment injury for purposes of a

  § 1962(a) claim.” Guy’s Mech. Sys., Inc. v. FIA Card Servs., N.A., 339 F. App’x

  193, 195 (3d Cir. 2009) (unpublished). Thus, Plaintiffs’ Section 1962(a) claim fails.


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  See Kolar, 361 F. App’x at 360-61 (3d Cir. 2010) (affirming dismissal where

  plaintiff’s alleged injury was “not specifically linked to the use or investment of

  income in any named enterprise”); Lightning Lube, 4 F.3d at 1188 (affirming

  dismissal where plaintiff’s “1962(a) allegations merely repeat the crux of its

  allegations in regard to the pattern of racketeering [under Section 1962(c)]”).

        C.     The RICO Conspiracy Claims (Counts 5 and 7) Should Be
               Dismissed Because Plaintiffs’ Substantive RICO Claims Fail.

        Section 1962(d) makes it “unlawful for any person to conspire to violate”

  Sections 1962(a)-(c). But “[a]ny claim under section 1962(d) based on a conspiracy

  to violate the other subsections of section 1962 necessarily must fail if the

  substantive claims are themselves deficient.” See Lightning Lube, 4 F.3d at 1191.

  Because Plaintiffs’ Section 1962(a) and (c) claims fail on the pleadings for reasons

  described above, their derivative conspiracy counts should also be dismissed.

  VI.   Many of Plaintiffs’ Claims Are Time-Barred.

        Plaintiffs allege their claims were underpaid “since at least 2007”—i.e., more

  than twelve years before Plaintiffs filed the original complaint. (SAC ¶ 12.) And

  while Plaintiffs contend that they commenced this lawsuit “within six years” after

  being notified that Cigna “was rejecting or dramatically underpaying” their claims

  (id. ¶ 198), they do not explain why they were supposedly unaware of these alleged

  underpayments before that six-year period when their theory is that Cigna was

  obligated to pay their full billed charges. Many of Plaintiffs’ disputed claims thus

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  fall outside the statute of limitations period, and should be dismissed as follows:

                           Claim                              Limitations Period 21
   Counts 1 (ERISA § 502(a)(1)(B)), 8 (breach of          6 years, so all claims
   contract), 9 (good faith and fair dealing), 10         before December 31, 2013
   (declaratory judgment), 11 (fiduciary duty), 12        (i.e., 6 years before date of
   (quantum meruit), 13 (injunctive relief), and 15 (NJ   filing of the original
   Consumer Fraud Act)                                    complaint) 22
   Count 2, ERISA fiduciary duty                          6 years or 3 years after
                                                          actual knowledge of
                                                          breach, so all claims before
                                                          at least December 31, 2013
   Counts 3 (ERISA § 503) and 14 (NJ Health Claims        No private cause of action,
   Authorization, Processing, and Payment Act)            see Secs. I.C & III
   Counts 4-7, RICO claims                                4 years, so all claims
                                                          before December 31, 2015

                                    CONCLUSION

        For reasons stated above, Cigna respectfully requests that this Court dismiss

  Plaintiffs’ SAC with prejudice. See Butto v. CJKant Res. Grp., LLC, 2019 WL

  1147580, at *4 (E.D. Pa. Mar. 13, 2019).



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     Fiorentino v. Bricklayers & Allied Craftworkers Local 4 Pension Plan, 696 F.
  App’x 594, 597 (3d Cir. 2017) (ERISA § 1132(a)(1)(B)); 29 U.S.C. § 1113 (ERISA
  fiduciary duty); Agency Holding Corp. v. Malley-Duff & Assocs., Inc., 483 U.S. 143,
  152 (1987) (RICO); N.J.S.A. 2A:14-1 (breach of contract); N.J.S.A. 2A:14-1
  (breach of the covenant of good faith and fair dealing); Carr v. N.J. Ins. Cure. Co.,
  2011 WL 380925 (D.N.J. Jan. 31, 2011) (declaratory judgment); Estate of Warner
  v. Koo, 2018 WL 5289050 (N.J. App. Div. Oct. 25, 2018) (fiduciary duty); N.J.S.A.
  2A:14-1 (quantum meruit); Edelgass v. New Jersey, 2015 WL 225810 (D.N.J. Jan.
  16, 2015) (injunctive relief); Kennedy v. Axa Equitable Life Ins. Co., 2007 WL
  2688881, at *2 (D.N.J. Sept. 11, 2007) (NJ Consumer Fraud Act).
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     The Plans may also provide a shorter limitations period. Cigna reserves the right
  to raise these Plan-specific arguments after discovery.
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   Dated:      July 15, 2021         By:    /s/ E. Evans Wohlforth Jr.
                                            E. Evans Wohlforth, Jr., Esq.
                                            Charlotte M. Howells, Esq.
                                            GIBBONS P.C.
                                            One Gateway Center
                                            Newark, New Jersey 07102-5310
                                            Telephone: (973) 596-4905
                                            Facsimile: (973) 639-6471
                                            ewohlforth@gibbonslaw.com
                                            chowells@gibbonslaw.com

                                            and

                                            Joshua B. Simon, Esq.*
                                            Warren Haskel, Esq.*
                                            Dmitriy Tishyevich, Esq.*
                                            MCDERMOTT WILL & EMERY LLP
                                            340 Madison Avenue
                                            New York, New York 10173-1922
                                            Telephone: (212) 547-5400
                                            Facsimile: (212) 547-5444
                                            jsimon@mwe.com
                                            whaskel@mwe.com
                                            dtishyevich@mwe.com
                                            * admitted pro hac vice

                                            Counsel for Defendants Cigna Health
                                            and Life Insurance Company and
                                            Connecticut General Life Insurance
                                            Company




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